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CROSS-PURCHASE AGREEMENT

THIS CROSS-PURCHASE AGREEMENT ("Agreement") made as the _\ st day of
Daemby , 2022, by and between ROBERT A. URRUTIA, having an address at 327
Lakewood Terrace, Newton, NJ 07860 (“Robert”), and ANTHONY DEO, residing at

% Saddle Ridge 24 ded “Anthony’).
— weekboy se

WITNESSETH:

WHEREAS, Robert is the owner of (0% _ shares of stock representing one hundred percent
(100%) of the outstanding stock (the “Superb Shares”) in Superb Motors, Inc. a New York
Corporation (“Superb”); and

WHEREAS, Anthony is the owner of lod units representing one hundred percent (100%)
of the outstanding membership interests in Northshore Motor Leasing LLC, (the “Northshore
Units”) a New York limited liability company (“Northshore”); and

WHEREAS, Anthony is the owner of \O0 units representing one hundred percent (100%)
of the outstanding membership interests in 189 Sunrise Hwy Auto LLC (the “Sunrise Units”), a
New York limited liability company (“Sunrise” and collectively with Superb and Northshore, the

“Companies”); and

WHEREAS, Anthony and Robert have agreed that Anthony shall receive a forty-nine percent
interest in Superb in exchange for: (a) FIVE HUNDRED THOUSAND DOLLARS ($500,000.00);

(b) twenty-five percent of the total membership interests in Northshore; and, (c) twenty-five
percent of the total membership interests in Sunrise in the manner hereinafter set forth; and

NOW, THEREFORE, for consideration, the receipt and sufficiency of which is
acknowledged, and the mutual promises set forth herein, and intending to be legally bound
hereby, the parties do hereby agree as follows:

1. The Cross-Purchase of Stock and Units: The parties hereto agree as follows:

a) Robert shall transfer to Anthony “VY. shares of Superb stock currently
owned by Robert (the “Superb Transferred Shares”); and

b) Anthony shall transfer to Robert vey units of Northshore currently owned by
Anthony (the “Northshore Transferred Units”); and

Cc) Anthony shall transfer to Robert Ls hk units of Sunrise currently owned by
Anthony (the “Sunrise Transferred Units”); and
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d) Anthony shall pay to Robert the sum of Five Hundred Thousand Dollars
($500,000.00).

2. Robert's Representations as to Superb: Robert represents and warrants to Anthony as
follows:

i. Robert is the sole shareholder of the Superb Shares, and owns same free and clear of
all liens and encumbrances.

ii. Robert has full power and legal right to transfer and deliver the Superb Transferred
Shares to Anthony in accordance with the terms of this Agreement, and otherwise to execute
and deliver this Agreement and to consummate and close the transactions provided for in this
Agreement in the manner and upon the terms herein specified, and this Agreement and the
transactions contemplated hereby will not result in the violation of any other agreement to which
Robert is a party or by which Robert is bound or, to the best of Robert's knowledge, any
agreement to which Superb is a party or by which Superb is bound.

iii. This Agreement has been duly executed and delivered by Robert and, assuming due
authorization, execution and delivery by Anthony, constitutes a legal, valid and binding
obligation of Robert, enforceable against Robert in accordance with its terms, subject, as to
validity, binding effect and enforcement remedies, to applicable bankruptcy, insolvency,
reorganization and other laws affecting creditors’ rights generally, and to equitable principles.

iv. Neither the execution and delivery of this Agreement by Robert nor the consummation of
the transactions contemplated herein will conflict with or violate any law, rule or regulation,
judgment or order applicable to Robert or, to the best of Robert's knowledge, applicable to
Superb.

V. No representation or warranty by Robert contained in this Agreement contains any
untrue statement of a material fact or omits to state a material fact necessary to make it not

misleading.

vi. There is not pending, nor to Robert's knowledge is there threatened, any
suit, action, bankruptcy or administrative proceeding, or arbitration or other proceeding, which
could adversely affect the ability of Robert to perform any of Robert's obligations under this
Agreement, including Robert's obligation to convey the Superb Shares free and clear of all liens

and encumbrances.

vil. To the best of Robert's knowledge, Robert is not required to submit any
notice to, or report or other filing with, or obtain any consent, approval or waiver from, any
governmental or regulatory authority or instrumentality in connection with the execution, delivery
or performance of this Agreement and the consummation of the transactions contemplated

herein.
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3. Anthony's Representations as to Northshore: Anthony represents and warrants to
Robert as follows:

i. Anthony is the sole owner of the Northshore Units, and owns free and clear of all liens
and encumbrances.

ii. Anthony has full power and legal right to transfer and deliver the Northshore Transferred
Units to Robert in accordance with the terms of this Agreement, and otherwise to execute and
deliver this Agreement and to consummate and close the transactions provided for in this
Agreement in the manner and upon the terms herein specified, and this Agreement and the
transactions contemplated hereby will not result in the violation of any other agreement to which
Anthony is a party or by which Anthony is bound or, to the best of Anthony's knowledge, any
agreement to which Northshore is a party or by which Northshore is bound.

iii, This Agreement has been duly executed and delivered by Anthony and, assuming due
authorization, execution and delivery by Robert, constitutes a legal, valid and binding obligation
of Anthony, enforceable against Anthony in accordance with its terms, subject, as to validity,
binding effect and enforcement remedies, to applicable bankruptcy, insolvency, reorganization
and other laws affecting creditors’ rights generally, and to equitable principles.

iv. Neither the execution and delivery of this Agreement by Anthony nor the consummation
of the transactions contemplated herein will conflict with or violate any law, rule or regulation,
judgment or order applicable to Anthony or, to the best of Robert's knowledge, applicable to
Northshore.

V. No representation or warranty by Anthony contained in this Agreement contains any
untrue statement of a material fact or omits to state a material fact necessary to make it not
misleading.

vi. There is not pending, nor to Anthony's knowledge is there threatened, any
suit, action, bankruptcy or administrative proceeding, or arbitration or other proceeding, which
could adversely affect the ability of Anthony to perform any of Anthony’s obligations under this
Agreement, including Anthony's obligation to convey the Northshore Units free and clear of all
liens and encumbrances.

vii. To the best of Anthony's knowledge, Anthony is not required to submit
any notice to, or report or other filing with, or obtain any consent, approval or waiver from, any
governmental or regulatory authority or instrumentality in connection with the execution, delivery
or performance of this Agreement and the consummation of the transactions contemplated
herein.

4. Anthony's Representations as to Sunrise: Anthony represents and warrants to Robert
as follows:
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i. Anthony is the sole owner of the Sunrise Units, and owns same free and clear of all liens
and encumbrances.

ii. Anthony has full power and legal right to transfer and deliver the Sunrise Transferred
Units to Robert in accordance with the terms of this Agreement, and otherwise to execute and
deliver this Agreement and to consummate and close the transactions provided for in this
Agreement in the manner and upon the terms herein specified, and this Agreement and the
transactions contemplated hereby will not result in the violation of any other agreement to which
Anthony is a party or by which Anthony is bound or, to the best of Anthony's knowledge, any
agreement to which Sunrise is a party or by which Sunrise is bound.

iii. This Agreement has been duly executed and delivered by Anthony and, assuming due
authorization, execution and delivery by Robert, constitutes a legal, valid and binding obligation
of Anthony, enforceable against Anthony in accordance with its terms, subject, as to validity,
binding effect and enforcement remedies, to applicable bankruptcy, insolvency, reorganization
and other laws affecting creditors’ rights generally, and to equitable principles.

iv. Neither the execution and delivery of this Agreement by Anthony nor the consummation
of the transactions contemplated herein will conflict with or violate any law, rule or regulation,
judgment or order applicable to Anthony or, to the best of Robert’s knowledge, applicable to

Sunrise.

V. No representation or warranty by Anthony contained in this Agreement contains any
untrue statement of a material fact or omits to state a material fact necessary to make it not

misleading.

vi. There is not pending, nor to Anthony’s knowledge is there threatened, any
suit, action, bankruptcy or administrative proceeding, or arbitration or other proceeding, which
could adversely affect the ability of Anthony to perform any of Anthony’s obligations under this
Agreement, including Anthony's obligation to convey the Sunrise Units free and clear of all liens

and encumbrances.

vii. To the best of Anthony’s knowledge, Anthony is not required to submit
any notice to, or report or other filing with, or obtain any consent, approval or waiver from, any
governmental or regulatory authority or instrumentality in connection with the execution, delivery
or performance of this Agreement and the consummation of the transactions contemplated

herein.

5. Mutual Representations of the Parties: Robert and Anthony each represent and warrant
to one and other as follows:

i. Each has the full power and legal right to accept, as applicable, the Superb Transferred
Shares, the Northshore Transferred Units and the Sunrise Transferred Units (collectively the
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Cross Purchased Interests”) the Cross-Purchased Interests in accordance with the terms of this
Agreement, and otherwise to execute and deliver this Agreement and to consummate and close
the transactions provided for in this Agreement in the manner and upon the terms herein
specified, and this Agreement and the transactions contemplated hereby will not result in the
violation of any other agreement to which either Anthony or Robert is a party or by which either
party is bound.

ii. This Agreement has been duly executed and delivered by both parties and, assuming
due authorization, execution and delivery by each of the other parties hereto, constitutes a legal,
valid and binding obligation of both parties, enforceable against either party in accordance with
its terms, subject, as to validity, binding effect and enforcement remedies, to applicable
bankruptcy, insolvency, reorganization and other laws affecting creditors’ rights generally, and to
equitable principles.

iii. Neither the execution and delivery of this Agreement by either party nor the
consummation of the transactions contemplated herein will conflict with or violate any law, rule
or regulation, judgment or order applicable to either party.

iv. No representation or warranty by either party contained in this Agreement contains any
untrue statement of a material fact or omits to state a material fact.

V. There is not pending, nor to either party's knowledge is there threatened, any suit, action
or administrative, arbitration or other proceedings which could adversely affect the ability of
either party to perform any of its obligations under this Agreement.

vi. The parties are satisfied with their due diligence and have been given the opportunity to
review the books, records and business of the Companies, including, but not limited to, all
financial, environmental, franchise, real and personal property lease information, and any and
all information, reports, tax returns, financial statements, and otherwise related to the

Companies.

vii. Each party is entering into this transaction without any representations or warranties
regarding the Companies except as specifically provided herein.

6. Survival of Representations: The representations made by the parties in Sections 3, 4
and 5 shall survive the consummation of this Agreement.

7. Closing: On the closing date the parties agree to complete any and all

documentation necessary to formally transfer the Cross Purchased Interests within the records

of the Companies.

8. Indemnification.
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Anthony, Northshore and Sunrise, jointly and severally, covenant and agree to indemnify and
hold Robert harmless from and against any and all claims, lawsuits, debts, obligations, and
liabilities of Northshore and/or Sunrise whether accrued, absolute, contingent, or otherwise,
attributable to Northshore and/or Sunrise or their operation before the date of closing, whether
or not reflected on the books or records of Northshore and/or Sunrise. Said indemnification
includes, without limitation, any and all tax liabilities of Northshore and/or Sunrise, whether or
not presently assessed, including, without limitation, interest and penalties. Anthony,
Northshore and Sunrise, jointly and severally, covenant and agree to indemnify and hold Robert
harmless from and against any claims, lawsuits, liabilities, obligations, damages, and costs and
expenses (including reasonable attorneys’ fees and costs of enforcing this indemnification) of
litigation suffered or incurred by Robert or arising out of, as a result of, or with respect to the
breach of any and all representations, covenants, obligations or warranties by Anthony under
this Agreement. Anthony, Northshore and Sunrise further covenant and agree, jointly and
severally, to reimburse Robert for any and all attorneys' fees, accountants’ fees, and costs
incurred in defending or otherwise opposing said liabilities and obligations. Anthony, Northshore
and Sunrise shall promptly notify Robert of the pendency of any action, judicial, administrative,
or otherwise, the outcome of which may trigger the application of the provisions hereof.

Robert and Superb, jointly and severally, covenant and agree to indemnify and hold Anthony
harmless from and against any and all claims, lawsuits, debts, obligations, and liabilities of
Superb whether accrued, absolute, contingent, or otherwise, attributable to Superb or its
operation before the date of closing, whether or not reflected on the books or records of Superb.
Said indemnification includes, without limitation, any and all tax liabilities of Superb, whether or
not presently assessed, including, without limitation, interest and penalties. Robert and Superb,
jointly and severally, covenant and agree to indemnify and hold Anthony harmless from and
against any claims, lawsuits, liabilities, obligations, damages, and costs and expenses
(including reasonable attorneys’ fees and costs of enforcing this indemnification) of litigation
suffered or incurred by Anthony or arising out of, as a result of, or with respect to the breach of
any and all representations, covenants, obligations or warranties by Robert under this
Agreement. Robert and Superb further covenant and agree, jointly and severally, to reimburse
Anthony for any and all attorneys’ fees, accountants' fees, and costs incurred in defending or
otherwise opposing said liabilities and obligations. Robert and Superb shall promptly notify
Anthony of the pendency of any action, judicial, administrative, or otherwise, the outcome of

which may trigger the application of the provisions hereof.

The respective indemnified parties hereunder shall be entitled to reasonable attorneys’ fees and
costs incurred with respect to a claim or obligation within the scope of the respective
indemnifications. To be entitled to indemnification hereunder, the party seeking to be
indemnified shall notify the other in writing of the pendency of the claim or obligation, and the
other party shall have a reasonable period of time (not to exceed sixty (60) days) to cure or

otherwise resolve the subject claims or obligations.

The indemnification provisions as provided herein shall survive the closing of title hereunder.

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9. Post-Closing Cooperation: At any time and from time to time from, and after this
Closing, each of the parties hereto will, at the request of any other party hereto, execute,
acknowledge and deliver, such instruments and other documents, and perform or cause to be
performed such acts, as may reasonably be required to evidence or effectuate the transfer of
the Cross-Purchased Interests to the other or for the performance by Robert or Anthony of any
of their other respective obligations under this Agreement.

10. _—_ Notices: All notices and other communications to be made hereunder shall be in
writing and shall be deemed to have been given when the same are either (i) personally
delivered or mailed, registered or certified mail, first class postage prepaid return receipt
required, or (ii) delivered by a nationally recognized overnight courier service providing a written

- receipt or other written proof of delivery to the applicable party at the addresses set forth above.
The substance of any such notice shall be deemed fully acknowledged in the event of any
refusal of acceptance by the party to whom the notice is addressed.

11. Severability: In the event any one or more of the provisions of this Agreement shall be
held to be invalid, illegal or unenforceable in any respect, such invalidity, illegality or
unenforceability shall not affect other provisions hereof, and this Agreement shall be construed
as if such invalid, illegal or unenforceable provision never had been contained herein.

12. Governing Law: This Agreement shall be construed in accordance with the laws of
the State of New York without giving effect to the conflict of law principles thereof.

13. Assignment: This Agreement is not assignable by either party and any attempt to do so
shall be null, void and of no effect and shall cause this Agreement to be terminated.

14. Successors and Assigns: Should either party become disabled or deceased prior to the
consummation of the transactions contemplated by this Agreement, the successors and assigns
of that party shall have no rights hereunder, and this Agreement shall be null, void and of no
further effect.

15. Consent to Jurisdiction: The parties hereto agree that the Supreme Court of the
State of New York, Nassau County, shall have exclusive jurisdiction to hear and determine any
claims or disputes pertaining directly or indirectly to this Agreement. The parties expressly and
irrevocably submit and consent in advance to such jurisdiction in any action or proceeding,
hereby waiving personal service of the summons and complaint or other process, and agree
that service of such summons and complaint, or other process or paper shall be made inside or
outside the State of New York by conforming to the notice provisions set forth in Section 10
hereof, or in such other manner as may be permitted under the Rules of said Courts.

16. | Counterparts: This Agreement may be executed in several counterparts, which together
are to be deemed one and the same instrument.
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17. Entire Agreement: | This Agreement contains the entire understanding and agreement
of the parties hereto with respect to the matters contained herein, and may not be amended or
supplemented at any time unless by a writing executed by each of the said parties.

[Signature Page Follows]

IN WITNESS WHEREOF, the parties hereto have executed this Cross Purchase
Agreement as of the day and year first above written.

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